         Case 3:21-cv-01344-JCH Document 26 Filed 04/12/22 Page 1 of 2



                      IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF CONNECTICUT

________________________________
RAFAEL COSME                                     :
     Plaintiff,                                  :      CIVIL ACTION NO.:
                                                 :      3:21-CV-1344-JCH
v.                                               :
                                                 :
CITY OF HARTFORD                                 :      APRIL 12, 2022
      Defendant.                                 :

                            MOTION FOR EXTENSION OF TIME

       In accordance with Fed. R. Civ. P. 7 and D. Conn. L. Civ. R. 7(b), Defendant, City

of Hartford, hereby requests an extension of time of thirty (30) days up to and including

May 19, 2022 in which to file its response to the Plaintiff's Interrogatories and Requests

for Production. The response is currently due on April 19, 2022. This is the first request

for an extension of time.

       In support hereof, the undersigned represents that due to the press of other

business and the voluminous nature of the Plaintiff’s request, the undersigned requests

an extension of time in order to carefully review and respond to Plaintiff's Interrogatories

and Requests for Production.

       The undersigned has contacted Plaintiff's counsel Gregory A. Jones who has no

objection to this requested extension.

                                          DEFENDANT,
                                          CITY OF HARTFORD:

                                          By:      /s/ Lisa S. Lazarek
                                                Lisa S. Lazarek
                                                Federal Bar No.: ct15001
                                                Metzger Lazarek & Plumb LLC
                                                56 Arbor Street Suite 413
                                                Hartford, CT 06106
                                                860-549-5026-office
                                                860-549-5224-fax
                                                llazarek@metzlaz.com
         Case 3:21-cv-01344-JCH Document 26 Filed 04/12/22 Page 2 of 2




                              CERTIFICATION OF SERVICE

       I HEREBY CERTIFY that on this 12th day of April 2022, a copy of the foregoing

Motion for Extension of Time was filed electronically and served by mail on anyone

unable to accept electronic filing. Parties may access this filing through the Court's

CM/ECF System.



                                          /s/ Lisa S. Lazarek
                                          Lisa S. Lazarek #ct15001




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